
This was a suit transferred (under the Act of Assembly of January 20th, 1814,) from the Superior Court of Chancery at Richmond to the Fredericksburg District, after the Bill had been taken for confessed, and a report of a Commissioner upon the accounts between the parties had been returned; in which report, Button the only defendant, was charged (among other items) *with the board, and sundry advances for the benefit, of several children, his wards, who, it was al-ledged in the Bill, were supported by the plaintiffs.
In April 1816, on the defendant’s motion, the order of February 1st, 1812, taking the bill for confessed, was set aside, and leave granted him to file a demurrer for the want of proper parties; on the ground that, since his wards were persons principally interested in the suit, they ought to have been made parties defendant to the Bill: — but, upon argument, the Chancellor overruled the demurrer, and decreed against the defendant, conformably to the report: — from which decree he appealed.
It was the opinion of this Court, that the Decree was erroneous, in not reserving liberty to the appellant, on overruling the demurrer, to file his answer. It was therefore reversed, and the cause remanded for that purpose, with a direction that if, on the coming in of the said Answer, it should appear proper, the Wards of the appellants should be made parties to the suit.
